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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------------X
INES BRICENO and ESMERALDA LEON,
individually and on behalf of all other persons similarly
situated who were employed by USI Services Group, Inc.,
Ultimate Services Inc., and Fred Goldring and/or any
other entities affiliated with or controlled by
USI Services Group, Inc., Ultimate Services Inc.,
and Fred Goldring,
                                                                         ORDER
                                   Plaintiffs,
                                                                      9-4252 (AKT)
                 - against -

USI SERVICES GROUP, INC., ULTIMATE
SERVICES INC., and FRED GOLDRING,
individually, and/or any other predecessors,
successors, and entities affiliated with or related to,
or controlled by USI Services Group Inc., Ultimate
Services Inc., and Fred Goldring,

                                    Defendants.
-------------------------------------------------------------X

A. KATHLEEN TOMLINSON, Magistrate Judge:

        The Court acknowledges receipt of copies of the Voluntary Petitions of Bankruptcy filed

by Defendants Ultimate Services, Inc. and USI Services Group, Inc. in the United States

Bankruptcy Court for the District of New Jersey. See DE 142. Based on this information, the

instant litigation is hereby stayed, pursuant to the automatic stay provision of 11 U.S.C. § 362.

Consequently, the Court will not be scheduling a Fairness Hearing at this time. This Court will

take no further action until the automatic stay is lifted in the Bankruptcy Court -- unless Plaintiffs

can provide applicable case law demonstrating that under the specific circumstances of this case,

the automatic stay provision does not apply.

        Defense counsel is directed to notify the Court as soon as a determination has been

rendered by the Bankruptcy Court.
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                                               SO ORDERED:

Dated: Central Islip, New York
       January 11, 2018

                                               /s/ A. Kathleen Tomlinson
                                               A. KATHLEEN TOMLINSON
                                               United States Magistrate Judge




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